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                                         March 31, 2023

VIA ECF

The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     In re Google Digital Advertising Antitrust Litigation, No. 1:21-md-03010-PKC
               Re: Fred Isquith Jr Motion to Withdraw

Dear Judge Castel:

        I represent the plaintiffs SPX Total Body Fitness LLC, d/b/a The Studio Empower,
SkinnySchool LLC, d/b/a Maria Marques Fitness, and Mint Rose Day Spa LLC (collectively “SPX
Plaintiffs”). I was also appointed, by the Court, to the Advertiser Class Action Steering Committee
(ECF No. 263 at p. 5). I write to request the Court correct an administrative error in docket entry
515 Order Granting Motion to Withdrawal as Counsel, which inadvertently terminated me as
counsel to the SPX Plaintiffs.

        On March 29, 2023, Fred Isquith Jr, filed his motion to Withdraw as Attorney. ECF No.
514 (Mar. 29, 2023). In that motion, Fred Isquith Jr stated that “Isquith Law, and other counsel,
will continue to represent SPX Plaintiffs.” Frederick Taylor Isquith Sr is also with Isquith Law
PLLC. The Court granted that motion on March 30, 2023, ordering that “Fred Isquith Jr. is
withdrawn as counsel for SPX Plaintiffs”. ECF No. 515 (Mar. 30, 2023). While the order
correctly permits the withdrawal of Fred Isquith Jr from the case. However, the docket entry
incorrectly states “Fred Taylor Isquith [Jr.] and Fredrick Taylor Isquith [Sr.]. terminated in
case.” See docket entry 515 (Mar. 30, 2023) (emphasis added). As such the docket reflects,
incorrectly, that Frederick Taylor Isquith Sr. is “terminated”. Frederick Taylor Isquith Sr.
continues to represent the SPX plaintiffs and the proposed class.

       I request that the Court please correct what appears to be an administrative error.


                                                     Respectfully submitted,

                                                      /s/ Fred T. Isquith Sr
                                                        Fred T. Isquith Sr.
